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 3
 4       Entered on Docket
     ___________________________________________________________________
         March 06, 2023
 5
 6
 7
      Terri H. Didion, Assistant United States Trustee
 8    State Bar No. CA 133491
      Justin C. Valencia, Trial Attorney
 9    State Bar No. NE 25375 | State Bar No. IA AT0012006
      United States Department of Justice
10
      Office of the U.S. Trustee
11    300 Las Vegas Boulevard So., Suite 4300
      Las Vegas, Nevada 89101
12    Telephone: (702) 388-6600
      Facsimile: (702) 388-6658
13
      Email: justin.c.valencia@usdoj.gov
14
      Attorney for TRACY HOPE DAVIS
15    United States Trustee for Region 17
16
                             UNITED STATES BANKRUPTCY COURT
17                                  DISTRICT OF NEVADA

18     In re:                                           Case No. BK-21-14978-ABL
19
       SILVER STATE BROADCASTING, LLC,                  Chapter 11
20
          AFFECTS THIS DEBTOR                ☐          Jointly administered with:
21
          AFFECTS GOLDEN STATE                             Golden State Broadcasting, LLC,
22
          BROADCASTING, LLC                  ☐             Case No. 21-14979-ABL
23
          AFFECTS MAJOR MARKET                             Major Market Radio, LLC,
24                                                         Case No. 21-14980-ABL
          RADIO, LLC                         ☐
25
                                                        Hearing Date: March 1, 2023
          AFFECTS ALL DEBTORS                ☒
26                                                      Hearing Time: 1:30 p.m.
                                                        Location: (669) 254-5252; Meeting ID
27                              Debtor(s).
                                                        161 110 6049; Passcode 154251
28


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          ORDER ON UNITED STATES TRUSTEE’S MOTION TO APPOINT CHAPTER 11
 1
             TRUSTEE UNDER 11 U.S.C. § 1104(a), OR, IN THE ALTERNATIVE, TO
 2           CONVERT CASES TO CHAPTER 7 PURSUANT TO 11 U.S.C. § 1112(b);
              AND MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
 3       AND RESERVATION OF RIGHTS [ECF NO. 405], AND CREDITOR MINCIN LAW,
         PLLC’S MOTION FOR APPOINTMENT OF CHAPTER 11 TRUSTEE [ECF NO. 393]
 4
 5           The Court, having considered the United States Trustee’s Motion to Appoint Chapter 11

 6   Trustee Under 11 U.S.C. § 1104(a), or, in the Alternative, to Convert Case to Chapter 7
 7   Pursuant to 11 U.S.C. § 1112(b); and Memorandum of Points and Authorities in Support and
 8
     Reservation of Right [ECF No. 405] (“UST Motion”), and Creditor Mincin Law, PLLC’s Motion
 9
     for Appointment of Chapter 11 Trustee [ECF No. 393] (“Creditor Motion”); having considered
10
11   the Declaration of Kristine R. Kinne in Support of the UST Motion [ECF No. 406] and Joinders

12   filed by VCY America, Inc. and W. Lawrence Patrick in support of the UST Motion and
13   Creditor Motion [ECF Nos. 399, 400, 415, 416]; having considered all papers and pleadings filed
14
     regarding the UST Motion and Creditor Motion; having found that no party filed or otherwise
15
     presented an objection to the UST Motion or the Creditor Motion; having conducted a hearing
16
17   with respect to the UST Motion and Creditor Motion on March 1, 2023 at 1:30 p.m. with Justin

18   C. Valencia appearing on behalf of the United States Trustee, David Mincin appearing on behalf
19   of Mincin Law, PLLC, Ogonna M. Brown appearing on behalf of VCY America, Inc., Nicholas
20
     A. Koffroth appearing on behalf of W. Lawrence Patrick, Thomas H. Fell appearing on behalf of
21
     Crown Castle MU, LLC, Daniel J. Kelly appearing on behalf of Bellaire Tower Homeowners
22
23   Association, and Tracy M. O’Steen appearing on behalf of C & E Haas Development Company,

24   LLC, and the Court having considered their respective arguments 1; having found that adequate
25
26
     1 Seth J. Adams and Edward R. Stolz were both present at the hearing. Mr. Adams noted on the
27   record that he did not file a notice of appearance or a motion to be employed by the Debtors, and
     that no opposition was filed by the Debtors prior to the hearing. A draft order was emailed to Mr.
28
     Adams on March 2, 2023 at 10:48 a.m. (PST) before lodging it with this Court.

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     and proper notice and service of the UST Motion and Creditor Motion and of such hearing was
 1
 2   provided to parties-in-interest; having found the Court has jurisdiction over this core matter;

 3   having stated its findings of fact and conclusions of law on the record at the conclusion of such
 4
     hearing, which are incorporated herein by reference in accordance with Fed. R. Civ. P. 52, made
 5
     applicable pursuant to Fed. R. Bankr. P. 7052 and 9014(c); and good cause appearing;
 6
            IT IS HEREBY ORDERED that the UST Motion and Creditor Motion to appoint a
 7
 8   Chapter 11 Trustee in the above-captioned Chapter 11 cases pursuant to 11 U.S.C. §§ 1104(a)(1),

 9   (2) is GRANTED;
10
            IT IS FURTHER ORDERED that the UST Motion requesting alternative relief to
11
     convert the above-captioned cases to Chapter 7 pursuant to 11 U.S.C. §§ 1112(b)(1), (4) is
12
     DENIED without prejudice; and
13
14          IT IS FURTHER ORDERED that the United States Trustee shall appoint a Chapter 11

15   Trustee pursuant to 11 U.S.C. § 1104(d) in the above-captioned cases forthwith.
16
            IT IS SO ORDERED.
17
     ///
18
            Respectfully submitted,
19
20          TRACY HOPE DAVIS
            UNITED STATES TRUSTEE, REGION 17
21
            /s/ Justin C. Valencia
22
            Justin C. Valencia
23          Trial Attorney for the United States Trustee

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                                      LR 9021 CERTIFICATION
 1
 2          In accordance with LR 9021, the Attorney submitting this document certifies as follows:

 3          ____ The Court waived the requirement set forth in LR 9021(b)(1) as to all parties with
     except to those set for the below.
 4
 5          ____ No party appeared at the hearing or filed an objection to the motion.

 6            X    I have delivered a copy of this proposed order to all Attorneys or unrepresented
     parties who appeared at the hearing or filed and served objections, and each has approved or
 7
     disapproved the order, or failed to respond, as indicated below [list each party and whether the
 8   party has approved, disapproved, or failed to respond to the document]:

 9          Approved/Disapproved/Failed to Respond
10
            /s/ David Mincin
11          David Mincin, Esq.
            Attorney for Mincin Law, PLLC
12
            Approved/Disapproved/Failed to Respond
13
14          /s/ Ogonna M. Brown
            Ogonna M. Brown, Esq.
15          Attorney for VCY America, Inc.
16
            Approved/Disapproved/Failed to Respond
17
            /s/ Nicholas A. Koffroth
18          Nicholas A. Koffroth, Esq.
            Attorney for W. Lawrence Patrick
19
20          Approved/Disapproved/Failed to Respond

21          /s/ Thomas H. Fell
            Thomas H. Fell, Esq.
22
            Attorney for Crown Castle MU, LLC
23
            Approved/Disapproved/Failed to Respond
24
            /s/ Daniel J. Kelly
25
            Daniel J. Kelly, Esq.
26          Attorney for Bellaire Tower Homeowners Association

27   ///
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            Approved/Disapproved/Failed to Respond
 1
 2          /s/ Tracy M. O’Steen
            Tracy M. O’Steen, Esq.
 3          Attorney for C & E Haas Development Company, LLC
 4
            ____ I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
 5   order with the motion pursuant to LR 9014(f), and that no party has objected to the form or
     content of the order.
 6
            I declare under penalty of perjury that the foregoing is true and correct.
 7
 8          Dated: March 2, 2023                  /s/ Justin C. Valencia
                                                  Justin C. Valencia
 9                                                Trial Attorney for the United States Trustee
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